         Case
          Case
           Case
              2:20-cv-02417-TLP-atc
                2:20-cv-02417-TLP
                 2:20-cv-02417-TLP Document
                                    Document
                                     Document
                                            12
                                             716Filed
                                                Filed
                                                   Filed
                                                      06/15/20
                                                       06/17/20
                                                         06/23/20Page
                                                                 Page
                                                                   Page
                                                                      11of
                                                                        of
                                                                         12of
                                                                           2 2PageID
                                                                              PageID
                                                                                PageID
                                                                                     17
                                                                                     2735

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western District
                                                    __________        of of
                                                               District  Tennessee
                                                                            __________

    JALETA CLARK, SONNY WEBBER, ALOREA                              )
       HARDWICK, and ERNESTINE LEWIS                                )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:20-cv-02417-TLP
                                                                    )
   RICHARD WILLIAM CASTLE, MATTHEW                                  )
RICHMOND DAVIS, MICHAEL SHANE DULANEY,                              )
CHARLES FORCE, WILLIAM WILSON, and OTHER                            )
    UNKNOWN PERSONS INDIVIDUALLY,                                   )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MICHAEL SHANE DULANEY
                                           1615 LAKE ITAWAMBA ROAD
                                           FULTON, MISSISSIPPI 38843




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jacob Webster Brown
                                           Bruce S. Kramer
                                           APPERSON CRUMP, PLC
                                           6000 Poplar Avenue, Suite 150
                                           Memphis, Tennessee 38118


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             06/17/2020
                                                                                         Signature of Clerk or Deputy Clerk
Case 2:20-cv-02417-TLP-atc Document 16 Filed 06/23/20 Page 2 of 2   PageID 36
